Case 2:04-cr-20180-.]DB Document 43 Filed 04/26/05 Page 1 of 6 Page|D 51
UN|TED STATES DlSTR|CT COURT

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_V. 2:0401=120180-5 W'D- Of~` TN. Mevipi`irs'

JEFFREY W. DOTY
Stephen Leffler! Retained

Defense Attorney
707 Adams Avenue
Nlemphis, TN 38105

 

JUDGIV|ENT lN A CRIIVI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1,2,3 & 4 of the indictment on August 30, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section M'=!t_“."e_°___foff€n_$_e Offense Number(s)
Conc|uded
18 U.S.C. § Possession of Child Pornography 04/07/2004 1
2252(a)(4)(B)
18 U.S.C. § 2252(a)(2) Fieceipt of Chi|d Pornography 03/06/2004 2,3 & 4

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996

|T IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 6/15/1959 Apri| 25, 2005
Deft’s U.S. Marshal No.: 19605-076

Defendant’s l\/|ailing Address:
9096 Kerr-Fiosemark Fload
Fiosemark, TN 38053

' J. DANIEL\BREEN
u iTED sTATEs olsTFilcT JuDeE

Aprii Z-L , 2005

 

Thls document entered on the docket sheet in compliance

with aule 55 and/ur 32(b) irach on f zimer

Case 2:04-cr-20180-.]DB Document 43 Filed 04/26/05 Page 2 of 6 Page|D 52

Case No: 2:04CR20180-B Defendant Name: Jeffrey W. DOTY Page 2 of 5
lMPR|SON|V|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 108 Nlonths.

The Court recommends to the Bureau of Prisons:
Placement at The Federa| Correciiona| institution at Butner, North Caro|ina.

The defendant is remanded to the custody of the United States |Vlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |V|ARSHAL
By:

 

Deputy U.S. lV|arshal

Case 2:04-cr-20180-.]DB Document 43 Filed 04/26/05 Page 3 of 6 PagelD 53

Case No: 2:O4CR20180~B Defendant Name: Jeffrey VV. DOTY Page 3 oi 5

SUPERVISED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete Written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at anytime at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:04-cr-20180-.]DB Document 43 Filed 04/26/05 Page 4 of 6 PagelD 54

Case No: 2:04CFi20180-B Defendant Name: Jeffrey W. DOTY Page 4 of 5

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| l\/lonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in a specialized sex offender treatment program that may include use of
pletysmograph and polygraph

2) Flefrain from purchasing, possessing, or utilizing any sexually stimulating or sexually
oriented books, magazines, films, videos, computer programs, or any other media for portrayal of
the same.

3) Do not |oiter near school yards, piaygrounds, swimming pools, arcades, or other places
frequented by children.

4) Do not use sexually oriented telephone numbers or services

5) Abide by an evening curfew as set by the Probation Officer.

6) Do not possess, or use, a computer with access to any “on-line computer service” at any
location without the prior approval of the Probation Officer. This includes any |ntemet Service
provider, bulletin board system or any other public or private network or e-mail system.

7) Cooperate with the collection of DNA as directed by the Probation Officer.

8) Participate in substance abuse treatment and testing as directed bythe Probation Officer.

9) Have no unsupervised contact with a minor.

Case 2:04-cr-20180-.]DB Document 43 Filed 04/26/05 Page 5 of 6 PagelD 55

Case No: 2:O4CR20180-B Defendant Name: Jeffrey W. DOTY Page 5 of 5

CR|NllNAL N|ONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Tota| Flestitution
$400.00
The Special Assessment shall be due immediately.

FlNE
No fine imposed

FiESTlTUT|ON
No Restitution was ordered.

 

ISICT COURT - WESERNT DSCTRIT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CR-20180 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

Stephen R. Left]er
LEFFLER LAW OFFICE
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Memphis7 TN 38105

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

